                                                                                 Case 11-18078-elf
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                                                                     IN RE LAMBACK, ERIC                                                                                                     Case No. 11-18078
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     1722 S. 58th Street - Vacant Lot                                                          Fee Simple                                                       5,000.00              400,000.00
                                                                     Debtor's residence at 751 Germantown Pike, Lafayette Hill PA                                                                                            925,000.00             4,521,226.00
                                                                     19444
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                                                                                                                                                                                      TOTAL                                  930,000.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
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                                                                     IN RE LAMBACK, ERIC                                                                                                    Case No. 11-18078
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                                   pocket money                                                                                                                    20.00
                                                                        2. Checking, savings or other financial            Citizen's Checking                                                                                                            100.00
                                                                           accounts, certificates of deposit or            PFCU checking account                                                                                                         100.00
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Computers, stereo and electronics                                                                                             500.00
                                                                           include audio, video, and computer              misc used household furnishings                                                                                             5,000.00
                                                                           equipment.
                                                                        5. Books, pictures and other art objects,          misc. books, music and collectibles                                                                                           300.00
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                used clothing                                                                                                                 100.00
                                                                        7. Furs and jewelry.                               Watch                                                                                                                         200.00
                                                                        8. Firearms and sports, photographic,              misc sports and hobby items                                                                                                   100.00
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name            LIfe Insurance policy with New England for 1/2 million in death                                                                  0.00
                                                                           insurance company of each policy and            beneift - term policy no cash value
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or           X
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated          X
                                                                          and unincorporated businesses.
                                                                          Itemize.
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                                                                     IN RE LAMBACK, ERIC                                                                                          Case No. 11-18078
                                                                                                                             Debtor(s)                                                                             (If known)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)




                                                                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                     OR COMMUNITY
                                                                                                                                                                                                                           CURRENT VALUE OF
                                                                                                                      N                                                                                                   DEBTOR'S INTEREST IN
                                                                                                                      O                                                                                                    PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                        DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                                                      DEDUCTING ANY
                                                                                                                      E                                                                                                    SECURED CLAIM OR
                                                                                                                                                                                                                               EXEMPTION




                                                                      14. Interests in partnerships or joint              1/2 ownership interest in Lee's Industries - a PA Corp                       J                          10,000.00
                                                                          ventures. Itemize.                              Still in business but business has serveral secured loan
                                                                                                                          associated with it and involved in litigation and is burdened
                                                                                                                          federal, state, local taxation issues/liens
                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
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                                                                      18. Other liquidated debts owed to debtor      X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and              2003 Ford Taurus Se with 170,000 miles                                                                    1,600.00
                                                                          other vehicles and accessories.                 2006 Range Rover with 100,000                                                                           15,000.00
                                                                      26. Boats, motors, and accessories.            X
                                                                      27. Aircraft and accessories.                  X
                                                                      28. Office equipment, furnishings, and         X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and        X
                                                                          supplies used in business.
                                                                      30. Inventory.                                 X
                                                                      31. Animals.                                   X
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                                                                     IN RE LAMBACK, ERIC                                                                                  Case No. 11-18078
                                                                                                                       Debtor(s)                                                                                (If known)

                                                                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                                                            (Continuation Sheet)




                                                                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                  OR COMMUNITY
                                                                                                                                                                                                                        CURRENT VALUE OF
                                                                                                                 N                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                 O                                                                                                      PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                 DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                 N                                                                                                        DEDUCTING ANY
                                                                                                                 E                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                            EXEMPTION




                                                                      32. Crops - growing or harvested. Give    X
                                                                          particulars.
                                                                      33. Farming equipment and implements.     X
                                                                      34. Farm supplies, chemicals, and feed.   X
                                                                      35. Other personal property of any kind   X
                                                                          not already listed. Itemize.
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                                                                                                                                                                                         TOTAL                                 33,020.00
                                                                                                                                                                    (Include amounts from any continuation sheets attached.
                                                                              0 continuation sheets attached                                                                   Report total also on Summary of Schedules.)
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                                                                     IN RE LAMBACK, ERIC                                                                                              Case No. 11-18078
                                                                                                                               Debtor(s)                                                                         (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $136,875.
                                                                     (Check one box)

                                                                        11 U.S.C. § 522(b)(2)
                                                                         11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                     CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED          OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                      EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     pocket money                                                 11 USC § 522(d)(5)                                                     20.00                     20.00
                                                                     Citizen's Checking                                           11 USC § 522(d)(5)                                                    100.00                    100.00
                                                                     PFCU checking account                                        11 USC § 522(d)(5)                                                    100.00                    100.00
                                                                     Computers, stereo and electronics                            11 USC § 522(d)(3)                                                    500.00                    500.00
                                                                     misc used household furnishings                              11 USC § 522(d)(3)                                                  5,000.00                   5,000.00
                                                                     misc. books, music and collectibles                          11 USC § 522(d)(3)                                                    300.00                    300.00
                                                                     used clothing                                                11 USC § 522(d)(3)                                                    100.00                    100.00
                                                                     Watch                                                        11 USC § 522(d)(4)                                                    200.00                    200.00
                                                                     misc sports and hobby items                                  11 USC § 522(d)(3)                                                    100.00                    100.00
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                                                                     1/2 ownership interest in Lee's Industries - 11 USC § 522(d)(5)                                                                10,000.00                 10,000.00
                                                                     a PA Corp
                                                                     Still in business but business has serveral
                                                                     secured loan associated with it and
                                                                     involved in litigation and is burdened
                                                                     federal, state, local taxation issues/liens
                                                                     2003 Ford Taurus Se with 170,000 miles                       11 USC § 522(d)(2)                                                  1,600.00                   1,600.00
                                                                     2006 Range Rover with 100,000                                11 USC § 522(d)(2)                                                  1,495.00                15,000.00
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                                                                                                                                 Debtor(s)                                                                                                                                          (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                        UNLIQUIDATED
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                                                                                                                                                                                                                           CONTINGENT
                                                                                                                                                                                                                                                                     AMOUNT OF
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                       DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                               DATE CLAIM WAS INCURRED,                                                           CLAIM WITHOUT
                                                                                                                                                                                                                                                                                             UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                     NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                                  DEDUCTING
                                                                                                                                                                                                                                                                                           PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                 PROPERTY SUBJECT TO LIEN                                                             VALUE OF
                                                                                                                                                                                                                                                                    COLLATERAL




                                                                     ACCOUNT NO. 1806                                                                              Car Loan for Land Rover                                                                              13,505.00
                                                                     Chase Auto Finance
                                                                     PO Box 78101
                                                                     Phoenix, AZ 85062-8101

                                                                                                                                                                   VALUE $ 15,000.00

                                                                     ACCOUNT NO.                                                                                   Unpaid Property Taxes and penalties on business         X X                                        400,000.00              390,000.00
                                                                                                                                                                   properties owned in Phila - Other owners and
                                                                     City Of Philadelphia                                                                          business, Lee's Industries Inc & Lees Home Health
                                                                                                                                                                   Services, are primarily liable. Debtor was personally
                                                                     C/O City Solicitor - Law Department
                                                                                                                                                                   sued by City and is now subject to default personal
                                                                     1515 Arch Street - 15th Floor                                                                 judgments.
                                                                     Philadelphia, PA 19102
                                                                                                                                                                   VALUE $ 15,000.00

                                                                     ACCOUNT NO. 0071093421                                                                        2nd Mortgage                                                                                       210,000.00
                                                                     Ocwen Loan Servicing
                                                                     PO Box 24737
                                                                     West Palm Beach, FL 33416-4737

                                                                                                                                                                   VALUE $ 925,000.00

                                                                     ACCOUNT NO.                                                                                   1st Mortgage on Residence                                                                          720,000.00                   5,000.00
                                                                     US Bank National Association
                                                                     C/O Stern & Eisenberg
                                                                     261 Old York Road, Suite 410
                                                                     Jenkintown, PA 19046
                                                                                                                                                                   VALUE $ 925,000.00
                                                                                                                                                                                                                           Subtotal
                                                                            0 continuation sheets attached                                                                                                     (Total of this page) $ 1,343,505.00 $ 395,000.00
                                                                                                                                                                                                                             Total
                                                                                                                                                                                                           (Use only on last page) $ 1,343,505.00 $ 395,000.00
                                                                                                                                                                                                                                                                  (Report also on         (If applicable, report
                                                                                                                                                                                                                                                                  Summary of              also on Statistical
                                                                                                                                                                                                                                                                  Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                          Liabilities and Related
                                                                                                                                                                                                                                                                                          Data.)
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                                                                                                                                 Debtor(s)                                                                                   (If known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
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                                                                     the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                      Taxes,
                                                                       Taxes and Certain Other Debts Owed to Governmental Units
                                                                              customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                          * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            1 continuation sheets attached
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                                                                                                                                                            Document     Page 8 of 16
                                                                     IN RE LAMBACK, ERIC                                                                                                                                                                    Case No. 11-18078
                                                                                                                                                   Debtor(s)                                                                                                                      (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   (Continuation Sheet)

                                                                                                            Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                                               (Type of Priority for Claims Listed on This Sheet)




                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                                                                               AMOUNT




                                                                                                                                                                                                                    CONTINGENT
                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                DISPUTED
                                                                                                                                                                                                                                                                            AMOUNT                NOT
                                                                            CREDITOR'S NAME, MAILING ADDRESS                                                                                                                                                 AMOUNT
                                                                                                                                                                 DATE CLAIM WAS INCURRED                                                                                    ENTITLED           ENTITLED
                                                                        INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                                                                                  OF
                                                                                                                                                               AND CONSIDERATION FOR CLAIM                                                                                     TO                  TO
                                                                                   (See Instructions above.)                                                                                                                                                  CLAIM
                                                                                                                                                                                                                                                                            PRIORITY           PRIORITY,
                                                                                                                                                                                                                                                                                                IF ANY




                                                                     ACCOUNT NO. 3333                                                                     Unpaid employment taxes for         X                                                 X
                                                                                                                                                          business, Lees Industries, Inc from
                                                                     Commonwealth Of PA - Dept of Rev                                                     3/1992-3/2008 which resulted in a
                                                                     Office Of Attorney General                                                           levy upon Debtor personally. The
                                                                     21 S 12th Street, 3rd FL                                                             exact amount of Debtor's personal
                                                                     Philadelphia, PA 19107-3603                                                          liaiblity is unknown at this time.
                                                                                                                                                                                                                                                           3,448,555.00 3,448,555.00
                                                                                                                                                          Penalty assessed for 1040 tax
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                                                                     ACCOUNT NO.
                                                                     IRS                                                                                  due through 2005
                                                                     Department Of Treasury
                                                                     PO Box 80110
                                                                     Cincinnati, OH 45280-0010
                                                                                                                                                                                                                                                            142,671.00     142,671.00
                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                           Subtotal
                                                                     Schedule of Creditors Holding Unsecured Priority Claims                                                                    (Totals of this page) $ 3,591,226.00 $ 3,591,226.00 $
                                                                                                                                                                           Total
                                                                                    (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.) $ 3,591,226.00
                                                                                                                                                                                Total
                                                                                                                  (Use only on last page of the completed Schedule E. If applicable,
                                                                                                     report also on the Statistical Summary of Certain Liabilities and Related Data.)                                                                                    $ 3,591,226.00 $
                                                                                 Case 11-18078-elf
                                                                     B6F (Official Form 6F) (12/07)
                                                                                                                      Doc 10          Filed 11/02/11 Entered 11/02/11 09:21:29                                                   Desc Main
                                                                                                                                      Document     Page 9 of 16
                                                                     IN RE LAMBACK, ERIC                                                                                                                   Case No. 11-18078
                                                                                                                                 Debtor(s)                                                                                                      (If known)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                               DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED AND                                                              AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                         CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                          (See Instructions Above.)                                                                SUBJECT TO SETOFF, SO STATE                                                             CLAIM
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                                                                     ACCOUNT NO. 41001&90133
                                                                     American Express
                                                                     Law Office Burton Neil & Associates
                                                                     1060 Andrew Dr., Suite 170
                                                                     West Chester, PA 19380
                                                                                                                                                                                                                                                                          170,000.00
                                                                     ACCOUNT NO. 1659                                                                 H
                                                                     Bank Of America
                                                                     PO Box 15019
                                                                     Wilmington, DE 19886-5019

                                                                                                                                                                                                                                                                           15,241.40
                                                                     ACCOUNT NO. 010524125
                                                                     Banner Life Insurance
                                                                     PO Box 740526
                                                                     Atlanta, GA 30374-0526

                                                                                                                                                                                                                                                                               45.00
                                                                     ACCOUNT NO. 7-330-1                                                              H
                                                                     Bloomingdales
                                                                     Bankruptcy Processing
                                                                     PO Box 8053
                                                                     Mason, OH 45040
                                                                                                                                                                                                                                                                            1,855.49
                                                                                                                                                                                                                                    Subtotal
                                                                            2 continuation sheets attached                                                                                                              (Total of this page) $ 187,141.89
                                                                                                                                                                                                                                       Total
                                                                                                                                                                          (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                              the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                           Summary of Certain Liabilities and Related Data.) $
                                                                                Case 11-18078-elf
                                                                     B6F (Official Form 6F) (12/07) - Cont.
                                                                                                                   Doc 10             Filed 11/02/11 Entered 11/02/11 09:21:29                                                         Desc Main
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                                                                     IN RE LAMBACK, ERIC                                                                                                                         Case No. 11-18078
                                                                                                                              Debtor(s)                                                                                                               (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                 HUSBAND, WIFE, JOINT,
                                                                                                                                                    OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                      CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                              AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                             CLAIM




                                                                     ACCOUNT NO. 0361                                                                H
                                                                     Capital One
                                                                     PO Box 30285
                                                                     Salt Lake City, UT 84130

                                                                                                                                                                                                                                                                                 1,459.45
                                                                     ACCOUNT NO. 8757
                                                                     Capital One Bank, USA
                                                                     PO Box 71083
                                                                     Charlotte, NC 28272-1083
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                                                                                                                                                                                                                                                                                 3,730.30
                                                                     ACCOUNT NO. 4114
                                                                     Firstsource Advantage, LLC
                                                                     PO Box 628
                                                                     Buffalo, NY 14240-0628

                                                                                                                                                                                                                                                                                 1,857.24
                                                                     ACCOUNT NO. 8744
                                                                     GE Money
                                                                     Law Office Of Joe Pezzuto
                                                                     4013 E Broadway, Suite A2
                                                                     Phoenix, AZ 85040
                                                                                                                                                                                                                                                                                 3,482.04
                                                                     ACCOUNT NO. 7255
                                                                     HSBC Card Services
                                                                     Stoneleigh Recovery Assoc
                                                                     PO Box 1479
                                                                     Lombard, IL 60148
                                                                                                                                                                                                                                                                                 3,468.29
                                                                     ACCOUNT NO. 5891
                                                                     HSBC Card Services
                                                                     PO Box 17051
                                                                     Baltimore, MD 21297

                                                                                                                                                                                                                                                                                   666.99
                                                                     ACCOUNT NO.                                                                                         1040 Tax due for 12/31/2005
                                                                     IRS
                                                                     Allison M. Sigler
                                                                     200 Lakeside Drive, Suite 220
                                                                     Horsham, PA 19044-2321
                                                                                                                                                                                                                                                                                10,000.00
                                                                     Sheet no.       1 of        2 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                               (Total of this page) $                            24,664.31
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $
                                                                                Case 11-18078-elf
                                                                     B6F (Official Form 6F) (12/07) - Cont.
                                                                                                                   Doc 10             Filed 11/02/11 Entered 11/02/11 09:21:29                                                       Desc Main
                                                                                                                                     Document      Page 11 of 16
                                                                     IN RE LAMBACK, ERIC                                                                                                                        Case No. 11-18078
                                                                                                                              Debtor(s)                                                                                                             (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                 HUSBAND, WIFE, JOINT,
                                                                                                                                                    OR COMMUNITY




                                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                      CODEBTOR




                                                                                                                                                                                                                                                                   DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                            AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                        OF
                                                                                         (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                           CLAIM




                                                                     ACCOUNT NO. 8065
                                                                     Key Bank
                                                                     EOS CCA
                                                                     PO Box 169
                                                                     Norwell, MA 02067-0169
                                                                                                                                                                                                                                                                              25,211.05
                                                                     ACCOUNT NO.                                                                                         Repossessed vehicle deficiency judgments
                                                                     Land Rover Capital Group
                                                                     C/O Joann Needleman
                                                                     935 One Penn Center 1617 JFK Blvd
                                                                     Philadelphia, PA 19103
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                                                                                                                                                                                                                                                                              10,000.00
                                                                     ACCOUNT NO. 3200
                                                                     Linebager Goggan Blair & Sampson, LLP
                                                                     4 Penn Center 1600 JFK Bldv., Suite 910
                                                                     Philadelphia, PA 19103

                                                                                                                                                                                                                                                                              22,140.87
                                                                     ACCOUNT NO.                                                                                         Lawsuit against Debtor's former businesses - still X X X
                                                                     Peggy Cunningham - Natividad Reyes                                                                  pending - amount owed [if any] by Debtor
                                                                     C/O Bruce M. Ludwig, Esquire                                                                        personally is still undetermined
                                                                     1845 Walnut Street, 24th Floor
                                                                     Philadelphia, PA 19102
                                                                                                                                                                                                                                                                              unknown
                                                                     ACCOUNT NO.                                                                                         Lawsuit pending in Montgomery County -
                                                                     Putnam Leasing                                                                                      Deficiency judgment based upon sale of
                                                                     C/O Bernstein Law Firm                                                                              reposessed leased vehicle -- sold on 12/9/2010 by
                                                                     Firm 718 Suite 2200 Gulf Tower                                                                      leasor/creditor
                                                                     Pittsburgh, PA 15219
                                                                                                                                                                                                                                                                              30,000.00
                                                                     ACCOUNT NO.                                                                                         Lawsuit against Debtor personally based upon     X X X
                                                                     Tracy Bishop - Pamela Brooks -                                                                      business operations of Lee Industries Inc & Lees
                                                                     C/O Bruce M. Ludwig Esquire                                                                         Home Health Services Inc & Lees' Cleaning
                                                                     1845 Walnut Street, 24th Floor                                                                      Services & Lee's Company Inc; Still pending
                                                                     Philadelphia, PA 19102
                                                                                                                                                                                                                                                                              unknown
                                                                     ACCOUNT NO.




                                                                     Sheet no.       2 of        2 continuation sheets attached to                                                                                                      Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                            87,351.92
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $ 299,158.12
                                                                                 Case 11-18078-elf
                                                                     B6G (Official Form 6G) (12/07)
                                                                                                                      Doc 10          Filed 11/02/11 Entered 11/02/11 09:21:29                                         Desc Main
                                                                                                                                     Document      Page 12 of 16
                                                                     IN RE LAMBACK, ERIC                                                                                                       Case No. 11-18078
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     Check this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                 Case 11-18078-elf
                                                                     B6H (Official Form 6H) (12/07)
                                                                                                                      Doc 10           Filed 11/02/11 Entered 11/02/11 09:21:29                                          Desc Main
                                                                                                                                      Document      Page 13 of 16
                                                                     IN RE LAMBACK, ERIC                                                                                                        Case No. 11-18078
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     Check this box if debtor has no codebtors.
                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
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                                                                                Case 11-18078-elf
                                                                     B6I (Official Form 6I) (12/07)
                                                                                                                    Doc 10         Filed 11/02/11 Entered 11/02/11 09:21:29                                            Desc Main
                                                                                                                                  Document      Page 14 of 16
                                                                     IN RE LAMBACK, ERIC                                                                                                  Case No. 11-18078
                                                                                                                               Debtor(s)                                                                                     (If known)

                                                                                                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed, unless the spouses
                                                                     are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this form may differ from the current
                                                                     monthly income calculated on From 22A, 22B, or 22C.
                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Single                                      RELATIONSHIP(S):                                                                                             AGE(S):
                                                                                                                                                                                                                               16




                                                                      EMPLOYMENT:                                            DEBTOR                                                                      SPOUSE
                                                                      Occupation
                                                                      Name of Employer          Lee Industries
                                                                      How long employed
                                                                      Address of Employer



                                                                     INCOME: (Estimate of average or projected monthly income at time case filed)                                                           DEBTOR                            SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                    $               4,000.00 $
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                                                                     2. Estimated monthly overtime                                                                                            $                               $
                                                                     3. SUBTOTAL                                                                                                              $               4,000.00 $
                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $                   800.00 $
                                                                       b. Insurance                                                                                                           $                               $
                                                                       c. Union dues                                                                                                          $                               $
                                                                       d. Other (specify)                                                                                                     $                               $
                                                                                                                                                                                              $                               $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $                   800.00 $
                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $               3,200.00 $

                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement)                           $                               $
                                                                     8. Income from real property                                                                                             $                               $
                                                                     9. Interest and dividends                                                                                                $                               $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                                          $                               $
                                                                     11. Social Security or other government assistance
                                                                       (Specify)                                                                                                              $                               $
                                                                                                                                                                                              $                               $
                                                                     12. Pension or retirement income                                                                                         $                               $
                                                                     13. Other monthly income
                                                                       (Specify)                                                                                                              $                               $
                                                                                                                                                                                              $                               $
                                                                                                                                                                                              $                               $

                                                                     14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                       $                               $
                                                                     15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                         $               3,200.00 $

                                                                     16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15;
                                                                     if there is only one debtor repeat total reported on line 15)                                                                            $                3,200.00
                                                                                                                                                                                              (Report also on Summary of Schedules and, if applicable, on
                                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data)

                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     None
                                                                                 Case 11-18078-elf
                                                                     B6J (Official Form 6J) (12/07)
                                                                                                                    Doc 10          Filed 11/02/11 Entered 11/02/11 09:21:29                                      Desc Main
                                                                                                                                   Document      Page 15 of 16
                                                                     IN RE LAMBACK, ERIC                                                                                                   Case No. 11-18078
                                                                                                                               Debtor(s)                                                                               (If known)

                                                                                               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made biweekly,
                                                                     quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income allowed
                                                                     on Form22A or 22C.
                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                              $            1,100.00
                                                                         a. Are real estate taxes included? Yes      No 
                                                                         b. Is property insurance included? Yes      No 
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                                $              150.00
                                                                         b. Water and sewer                                                                                                                             $
                                                                         c. Telephone                                                                                                                                   $               50.00
                                                                         d. Other Cell Phone                                                                                                                            $               60.00
                                                                                      Cable Internet                                                                                                                    $              100.00
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                           $
                                                                     4. Food                                                                                                                                            $              300.00
                                                                     5. Clothing                                                                                                                                        $               50.00
                                                                     6. Laundry and dry cleaning                                                                                                                        $
                                                                     7. Medical and dental expenses                                                                                                                     $               50.00
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                                                                     8. Transportation (not including car payments)                                                                                                     $              200.00
                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                $               50.00
                                                                     10. Charitable contributions                                                                                                                       $
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                     $                30.00
                                                                         b. Life                                                                                                                                        $
                                                                         c. Health                                                                                                                                      $              200.00
                                                                         d. Auto                                                                                                                                        $              200.00
                                                                         e. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify) IRS & Pennslvania Back Tax Payment                                                                                                   $              300.00
                                                                                                                                                                                                                        $
                                                                     13. Installment payments: (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                        $              400.00
                                                                         b. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     14. Alimony, maintenance, and support paid to others                                                                                               $
                                                                     15. Payments for support of additional dependents not living at your home                                                                          $
                                                                     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $
                                                                     17. Other                                                                                                                                          $
                                                                                                                                                                                                                        $
                                                                                                                                                                                                                        $

                                                                     18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if
                                                                     applicable, on the Statistical Summary of Certain Liabilities and Related Data.                                                                    $            3,240.00

                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
                                                                     None




                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Average monthly income from Line 15 of Schedule I                                                                                           $            3,200.00
                                                                         b. Average monthly expenses from Line 18 above                                                                                                 $            3,240.00
                                                                         c. Monthly net income (a. minus b.)                                                                                                            $              -40.00
                                                                                  Case 11-18078-elf                  Doc 10
                                                                     B6 Declaration (Official Form 6 - Declaration) (12/07)
                                                                                                                                    Filed 11/02/11 Entered 11/02/11 09:21:29                                          Desc Main
                                                                                                                                   Document      Page 16 of 16
                                                                     IN RE LAMBACK, ERIC                                                                                                 Case No. 11-18078
                                                                                                                               Debtor(s)                                                                                    (If known)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      17 sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief.


                                                                     Date: November 2, 2011                               Signature: /s/ Eric Lamback
                                                                                                                                                                                                                                                       Debtor
                                                                                                                                       Eric Lamback

                                                                     Date:                                                Signature:
                                                                                                                                                                                                                                         (Joint Debtor, if any)
                                                                                                                                                                                               [If joint case, both spouses must sign.]

                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                                Signature:


                                                                                                                                                                                                 (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
